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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      District of Connecticut



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                                              April 8, 2025

W. Theodore Koch III                                                             United States District Court
Koch, Garg, Walker & Smart LLP                                                     District of Connecticut
8 West Main Street, Suite 2-10                                                   FILED AT BRIDGEPORT
Niantic, CT 06357
                                                                                                                      202
                                                                                                         Clerk              $"
       Re:    United States v. Matthew Santos                                    By•~ ~ ~ ~ ~ ~
                                                                                              ><::::::.
                                                                                                :::::::~
              Case No, 3:24cr221 (SRU)

Dear Attorney Koch:

       This letter confirms the plea agreement between your client, Matthew Santos (the
"defendant"), and the United States Attorney's Office for the District of Connecticut (the
"Government") in this criminal matter.

THE PLEA AND OFFENSE

       In consideration for the benefits offered under this agreement, Matthew Santos agrees
to plead guilty to Count Four of a nine-count indictment charging violations of 18 U.S.C. §
933(a)(3) and (b).

       The defendant understands that, to be guilty of Count Four, firearms trafficking
conspiracy, the following essential elements must be satisfied:

       1. That two or more people entered into an agreement to traffic firearms in violation of Title
          18, United States Code, Sections 933(a)(l) and 933(a)(2); and

       2. That the defendant knew the unlawful purpose of the agreement and joined in it
          willfully, that is, with the intent to further the unlawful purpose.
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THE PENALTIES

       Jmpris nment

       This offense carries a maximum penalty of 15 years of imprisonment.

         uperv i ·ed Release

        In addition, the Court may impose a term of supervised release of not more than 3 years
to begin after any term of imprisonment. 18 U.S.C. § 3583.

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to two years per revocation
pursuant to 18 U.S.C. § 3583 with no credit for time already spent on supervised release.

       Fine

        Under 18 U.S.C. § 3571, the maximum fine that may be imposed on the defendant is the
greatest of the following amounts: (1) twice the gross gain to the defendant resulting from the
offense or twice the gross loss resulting from the offense, whichever is greater; or (2) $250,000.

       Special Assessment

       In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special assessment of
$100 on each count of conviction. The defendant agrees to pay the special assessment to the
Clerk of the Court on the day the guilty plea is accepted.

       Interest, penaltie . and fines

         Unless otherwise ordered, should the Court impose a fine or restitution of more than
$2,500 as part of the sentence, interest will be charged on the unpaid balance of the fine or
restitution not paid within 15 days after the judgment date. 18 U.S.C. § 3612(f). Other penalties
and fines may be assessed on the unpaid balance of a fine or restitution pursuant to 18 U.S.C.
§ 3572(h), (i) and § 36 l 2(g). The defendant reserves the right to request that the Court waive
interest and penalties as permitted by statute, and the Government reserves the right to oppose
any such request.

       Forfeiture

        Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant agrees to forfeit to
the United States his interest in the property described herein, which are the firearms charged in
Count Four of the Indictment: (1) a Beretta Model M9, .22 caliber pistol, bearing serial number
BM063634, seized on or about October 2, 2024 in New Haven, Connecticut; and (2) a polymer
80 firearm with no serial number, magazine, and all related ammunition seized with this firearm,
all of which were seized on or about October 9, 2024 in New Haven, Connecticut.
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        The defendant agrees to waive all interests in the firearm and ammunition described
above ("the forfeitable assets"), in any administrative or judicial forfeiture proceeding, whether
criminal or civil, state or federal. The defendant agrees to consent to the entry of orders of
forfeiture for each of the forfeitable assets and waives the requirements of Federal Rules of
Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
The defendant acknowledges that he understands that the forfeiture of assets is pait of the
sentence that may be imposed in this case and waives any failure by the Court to advise the
defendant of this, pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(J), at the time the
guilty plea is accepted.

        The defendant agrees to hold the United States, its agents, and its employees harmless
from any claims whatsoever in connection with the seizure or forfeiture of the above-listed
asset(s) covered by this agreement. The defendant further agrees to waive all constitutional and
statutory challenges in any manner to any forfeiture carried out in accordance with this plea
agreement on any grounds. The defendant also understands and agrees that by virtue of the plea
of guilty, the defendant waives any rights or cause of action to claim that the defendant is a
"substantially prevailing party" for the purpose of recovery of attorney fees and other litigation
costs in any related forfeiture proceeding pursuant to 28 U.S.C. § 2465(b)(l).

THE SENTENCING GUIDELINES

       Applicability

        The defendant understands that the Court is required to consider any applicable
Sentencing Guidelines as well as other factors enumerated in 18 U.S.C. § 3553(a) to tailor an
appropriate sentence in this case and is not bound by this plea agreement. The defendant agrees
that the Sentencing Guidelines determinations will be made by the Court, by a preponderance of
the evidence, based upon input from the defendant, the Government, and the United States
Probation Office. The defendant further understands that he has no right to withdraw his guilty
plea if his sentence or the Guidelines application is other than he anticipated, including if the
sentence is outside any of the ranges set forth in this agreement.

       A c ptance of R ponsibility

         At this time, the Government agrees to recommend that the Court reduce by two levels
the defendant's adjusted offense level under § 3El.1 (a) of the Sentencing Guidelines, based on
the defendant's prompt recognition and affirmative acceptance of personal responsibility for the
offense. Moreover, should the defendant qualify for a decrease under§ 3El.l(a) and his offense
level determined prior to the operation of subsection (a) is level 16 or greater, the Government
will file a motion with the Court pursuant to § 3E 1.1 (b) which recommends that the Court reduce
the defendant's Adjusted Offense Level by one additional level based on his prompt notification
of his intention to enter a plea of guilty. The defendant understands that the Court is not
obligated to accept the Government's recommendations on the reductions.

      The above-listed recommendations are conditioned upon the defendant's affirmative
demonstration of acceptance of responsibility, by (1) truthfully admitting the conduct comprising
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the offense(s) of conviction and truthfully admitting or not falsely denying any additional
relevant conduct for which the defendant is accountable under § 1B1.3 of the Sentencing
Guidelines, and (2) disclosing to the United States Attorney's Office and the United States
Probation Office a complete and truthful financial statement detailing the defendant's financial
condition. The defendant expressly authorizes the United States Attorney's Office to obtain a
credit report concerning the defendant.

        In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance of responsibility if the defendant engages in any acts, unknown to the
Government at the time of the signing of this agreement, which (1) indicate that the defendant
has not terminated or withdrawn from criminal conduct or associations (§ 3El.1 of the
Sentencing Guidelines); (2) could provide a basis for an adjustment for obstructing or impeding
the administration of justice (§ 3C 1.1 of the Sentencing Guidelines); or (3) constitute a violation
of any condition of release. Moreover, the Government reserves the right to seek denial of the
adjustment for acceptance of responsibility if the defendant seeks to withdraw his guilty plea or
takes a position at sentencing, or otherwise, which, in the Government's assessment, is
inconsistent with affirmative acceptance of personal responsibility. The defendant understands
that he may not withdraw his plea of guilty if, for the reasons explained above, the Government
does not make one or both of the recommendations or seeks denial of the adjustment for
acceptance of responsibility.

       Stipulation

         Pursuant to § 6B 1.4 of the Sentencing Guidelines, the defendant and the Government
have entered into the attached stipulation, which is a part of this plea agreement. The defendant
understands that this stipulation does not set forth all of the relevant conduct and characteristics
that may be considered by the Court for purposes of sentencing. The defendant understands that
this stipulation is not binding on the Court. The defendant also understands that the Government
and the United States Probation Office are obligated to advise the Court of any additional
relevant facts that subsequently come to their attention.

       Guidelines Stipulation

       The parties agree as follows:

       The Guidelines Manual in effect on the date of sentencing is used to determine the
applicable Guidelines range.

         The defendant's base offense level under U.S.S.G. § 2K2.1(6)(B) is 14. Two levels are
added because one of the firearms was stolen, pursuant to U.S.S.G. § 2K2.1(4)(A). The adjusted
offense level of 16 is increased by five levels pursuant to U.S.S.G. § 2K2.l(b)(5)(C)(III) for a
total offense level of 21. Three levels are subtracted under U.S.S.G. § 3El.1 for acceptance of
responsibility, as noted above, resulting in a total offense level of 18.

       Based on an initial assessment, the parties agree that the defendant falls within Criminal
History Category I. The parties reserve the right to recalculate the defendant's Criminal History
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Category, eligibility for a zero-point-offender reduction, and corresponding sentencing ranges if
this initial assessment proves inaccurate. The government reserves its right to argue that any such
re-calculation is not a basis for any downward departure or variance and its right to oppose any
request from the defendant for such a departure or variance.

        A total offense level of 18, assuming placement in Criminal History Category I, would
result in a Guidelines range of 27 to 33 months of imprisonment (sentencing table) and a fine
range of $10,000 to $100,000 (U.S.S.G. § 5El.2(c)(3)). The defendant also is subject to a
supervised release term of 1 years to 3 years. U.S.S.G. § 5Dl.2.

         The Government and the defendant reserve their rights to seek a departure or a non-
Guidelines sentence, and both sides reserve their right to object to a departure or a non-
Guidelines sentence. Moreover, the defendant reserves the right to argue that a fine is not
appropriate in this case, and the Government reserves the right to argue that a fine is appropriate
in this case.

        The defendant understands that the Court is not bound by this agreement on the Guideline
ranges specified above. The defendant further understands that he will not be permitted to
withdraw the guilty plea if the Court imposes a sentence outside any of the ranges set forth in
this agreement.

        In the event the United States Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the right to respond
to any inquiries and make appropriate legal arguments regarding the proposed alternate
calculations. Moreover, the parties reserve the right to defend any sentencing determination,
even if it differs from that stipulated by the parties, in any post-sentencing proceeding.

       Information to the Court

       The parties reserve their rights to address the Court with respect to an appropriate
sentence to be imposed in this case. Moreover, the Government will discuss the facts of this case,
including information regarding the defendant's background and character, 18 U.S.C. § 3661,
with the United States Probation Office and will provide the Probation Officer with access to
material in its file, with the exception of grand jury material.

WAIVER OF RIGHTS

       The defendant acknowledges and agrees that he rs knowingly, intelligently, and
voluntarily waiving the following rights:

       Waiver of Trial Ri gbts and Consequences of Guilty Pl ea

       The defendant understands that he has the right to be represented by an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represent him.
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         The defendant understands that he has the right to plead not guilty or to persist in that
plea if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
not to be compelled to incriminate himself, the right to testify and present evidence, and the right
to compel the attendance of witnesses to testify in his defense. The defendant understands that by
pleading guilty he waives those rights and that, if the plea of guilty is accepted by the Court,
there will not be a further trial of any kind.

        The defendant understands that, if he pleads guilty, the Court may ask him questions
about each offense to which he pleads guilty, and if he answers those questions falsely under
oath, on the record, and in the presence of counsel, his answers may later be used against him in
a prosecution for perjury or making false statements.

       Waiver of Statute of Limitations

        The defendant agrees that, should the conviction following the defendant's guilty plea be
vacated for any reason, then any prosecution that is not time-barred by the applicable statute of
limitations on the date of the signing of this plea agreement (including any indictment or counts
the Government has agreed to dismiss at sentencing pursuant to this plea agreement) may be
commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
limitations between the signing of this plea agreement and the commencement or reinstatement
of such prosecution. The defendant agrees to waive all defenses based on the statute of
limitations with respect to any prosecution that is not time-barred on the date the plea agreement
is signed.

       Waiver of Right to                onviction

        The defendant acknowledges that under certain circumstances he is entitled to challenge
his conviction. By pleading guilty, the defendant waives his right to appeal or collaterally attack
his conviction in any proceeding, including but not limited to a motion under 28 U.S.C. § 2255
and/or § 2241. In addition to any other claims the defendant might raise, the defendant waives
the right to challenge the conviction based on (1) any non-jurisdictional defects in the
proceedings before entry of this plea, (2) a claim that the statute(s) to which the defendant is
pleading guilty is unconstitutional, and (3) a claim that the admitted conduct does not fall within
the scope of the statute. This waiver does not preclude the defendant from raising a claim of
ineffective assistance of counsel in an appropriate forum.

       Waiver of Right to Appeal or Collaterally Attack Sentence

        The defendant acknowledges that under certain circumstances, the defendant is entitled to
challenge his sentence. In consideration for the benefits offered under this agreement, the
defendant agrees not to appeal or collaterally attack the sentence in any proceeding, including
but not limited to a motion under 28 U.S.C. § 2255 and/or § 2241, if that sentence does not
exceed 33 months of imprisonment, 3 years of supervised release, a $100 special assessment, and
forfeiture as set forth herein, even if the Court imposes such a sentence based on an analysis
different from that specified above. Similarly, the defendant will not challenge any condition of
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supervised release imposed by the Court for which he had notice and an opportunity to object.
The Government and the defendant agree that this waiver applies regardless of whether the term
of imprisonment is imposed to run consecutively to or concurrently with, in whole or in part, the
undischarged portion of any other sentence that has been imposed on the defendant at the time of
sentencing in this case. Furthermore, the parties agree that any challenge to the defendant's
sentence that is not foreclosed by this provision will be limited to that portion of the sentencing
calculation that is inconsistent with (or not addressed by) this waiver. This waiver does not
preclude the defendant from raising a claim of ineffective assistance of counsel in an appropriate
forum.

ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

         The defendant acknowledges that he is entering into this agreement and is pleading guilty
freely and voluntarily because the defendant is guilty. The defendant further acknowledges that
he is entering into this agreement without reliance upon any discussions between the
Government and the defendant (other than those described in the plea agreement letter), without
promise of benefit of any kind (other than the concessions contained in the plea agreement
letter), and without threats, force, intimidation, or coercion of any kind. The defendant further
acknowledges his understanding of the nature of the offense to which the defendant is pleading
guilty, including the penalties provided by law. The defendant also acknowledges his complete
satisfaction with the representation and advice received from his undersigned attorney. The
defendant and his undersigned counsel are unaware of any conflict of interest concerning
counsel's representation of the defendant in the case.

SCOPE OF THE AGREEMENT

        The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to him with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges that this agreement has been reached without
regard to any civil tax matters that may be pending or which may arise involving the defendant.

COLLATERAL CONSEQUENCES

        The defendant understands that he will be adjudicated guilty of each offense to which the
defendant has pleaded guilty and will be deprived of certain rights, such as the right to hold
public office, to serve on a jury, to possess firearms and ammunition, and, in some states, the
right to vote. Further, the defendant understands that if he is not a citizen of the United States, a
plea of guilty may result in removal from the United States, denial of citizenship, and denial of
admission to the United States in the future. The defendant understands that pursuant to section
203(b) of the Justice For All Act, the Federal Bureau of Prisons or the United States Probation
Office will collect a DNA sample from the defendant for analysis and indexing. Finally, the
defendant understands that the Government reserves the right to notify any state or federal
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agency by which the defendant is licensed, or with which the defendant does business, as well as
any current or future employer of the fact of his conviction.

SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

         The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut as a result of t he defendant's participation
in the unlawfu l trafficl ing of firearms into Connecticut, which form s the basis of the indictment As
in this case. After sentencing, the Gove rnmen t wi ll move to di smi ss co unts om, lhrQYg l:l tl=lree 0:n:d- ,s--fv'
five t:hrsugl~ i:iine of Lhe indi ctment because the conduct underly ing the dism issed counts w ill ~
have been taken into account in detennin.ing th appropr.iate sent nc . This provision doe not
apply to any conduct unknown to the Government at the time of the signing of this agreement.

         The defendant understands that if, before sentencing, he violates any term or condition of
this agreement, engages in any criminal activity, or fails to appear for sentencing, the
Government may void all or part of this agreement. If the agreement is voided in whole or in
part, the defendant will not be permitted to withdraw the guilty plea.

NO OTHER PROMISES

         The defendant acknowledges that no other promises, agreements, or conditions have been
entered into other than those set forth in this plea agreement, and none will be entered into unless
set forth in writing, signed by all the parties.

        This letter shall be presented to the Court, in open court, and filed in this case.

                                                 Very truly yours,

                                                 MARCH. SILVERMAN
                                                 ACTING UNITED STATES ATTORNEY




       The defendant certifies that he has read this plea agreement letter and its attachment(s) or
has had it read or translated to him, that he has had ample time to discuss this agreement and its
attachment(s) with counsel and that he fully understands and accepts its terms.



MATTHEW SANTOS
The Defendant
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       I have thoroughly read, reviewed, and explained this plea agreement and its attachment(s)
to my client who advises me that he understands and accepts its terms.


     ~·T: ~Mk
W. THEOD REl'OH III,ESQ.                           Date
Attorney for the Defendant
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        STIPULATION OF OFFENSE CONDUCT AND RELEVANT CONDUCT

       The defendant and the Government stipulate to the following offense conduct and
relevant conduct that give rise to the defendant's agreement to plead guilty to Count Four of the
indictment:

       1. On or about October 2, 2024, the defendant willfully agreed with co-defendant
          Lindsey Edwards to sell a firearm, specifically a Beretta Model M9, .22 caliber pistol
          bearing serial number BM063634, to an individual, and delivered that Beretta firearm
          to Edwards for the purposes of selling and disposing to a third-party buyer.

       2. On or about October 9, 2024, the defendant willfully agreed with co-defendant
          Lindsey Edwards to sell a firearm, specifically a polymer 80 firearm with no serial
          number, magazine, and assorted ammunition to an individual, and delivered that
          Polymer 80 firearm to Edwards for the purposes of selling and disposing to a third-
          party buyer.

       3. At all relevant times during the course of the conspiracy, the defendant willfully
          joined into the agreement with the intent to further the unlawful trafficking of
          firearms.

       This written stipulation is part of the plea agreement. The defendant and the Government
reserve their right to present additional offense conduct and relevant conduct to the Court in
connection with sentencing.




MATTHEW SANTOS                                                ·~vrcK
The Defendant                                                 TED STATES ATTORNEY




                  KOCH III, ESQ
Attorney for the Defendant
